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                              U.S. Department of Justice
                                                                                        Telephone 608/264-5158
                              Scott C. Blader                                                TTY 608/264-5006

                              United States Attorney                     Administrative Facsimile 608/264-5183
                                                                          Civil Division Facsimile 608/264-5724
                              Western District of Wisconsin           Criminal Division Facsimile 608/264-5054

 Address:
 222 West Washington Avenue
 Suite 700
 Madison, Wisconsin 53703

                                       September 28, 2020


Joseph Bugni
Federal Defender Services of Wisconsin, Inc.
22 East Mifflin, Suite 1000
Madison, WI 53703

        Re:       United States of America v. David Kruchten
                  Case No: 20-cr-00010-jdp

Dear Mr. Bugni:

       Enclosed please find a flash drive with all of the discovery produced so far in an
unredacted format (Bates Nos. KRUCHTEN_CLEAN_000001 –
KRUCHTEN_CLEAN_001897) pursuant to the non-disclosure agreement in the above
referenced case.

       If you have any questions regarding this matter, please do not hesitate to contact
me at (608) 264-5158.

                                                 Very truly yours,

                                                 SCOTT C. BLADER
                                                 United States Attorney

                                                 By:           /s/

                                                 ELIZABETH ALTMAN
                                                 Assistant United States Attorney


Enclosure
